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   1     Geoffrey M. Davis(SBN 187239)                              -          n~~~
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         Attorneys for Defendant Crane Co.                           BY            ~~ I
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   7                                  UNITED STATES DISTRICT COURT

   8                                CENTRAL DISTRICT OF CALIFORNIA

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  11   SANDRA PIERCE, as Successor-in-                       Case No.: 2:20-cv-05315-PSG(Ex)
       Interest to RONALD L. PIERCE,
  12   Deceased,                                             [Removed from the Superior Court of
                                                             California, County of Los Angeles, Case No.
  13                          Plaintiff                      20STCV 11282]

  14   vs.
                                                             [p$A    D]ORDER GRANTING
  15   AIR &LIQUID SYSTEMS CORPORATION`, et                  DISMISSAL WITHOUT PREJUDICE OF
       al.,                                                  DEFENDANT CRANE CO.
  16
                              Defendants.
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  19            Pursuant to stipulation, and good cause appearing therefor, IT IS ORDERED that all claims

  20   against defendant Crane Co. are hereby dismissed, without prejudice, pursuant to Rule 41 ofthe

  21   Federal Rules of Civil Procedure. The parties shall bear their own costs.

  22

  23   Dated:       b

  24                                                Honorabl hilip S. Gutierrez
                                                    Chief United States District Judge
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                 ORDER GRANTING DISMISSAL WITHOUT PREJUDICE OF DEFENDANT CRANE CO.
Case 2:20-cv-05315-PSG-E Document 131 Filed 06/24/22 Page 2 of 2 Page ID #:11677
       2:20-cv-05315-PSG-E Document 130-1 Filed 06!23/22 Page 2 of 2 Page ID #:11675



   ~                                       C'F,RTIFICATE OF SERVICE

  2            The undersigned hereby certifies that on June 23~d, 2022, the foregoing document was
  3     served on all counsel of record who have consented to electronic service via the Court's ECF
  4     system. Any other counsel of record who have not registered as an ECF user will be served by
   5    facsimile transmission or first class mail.
  6                                                    /s/ Geo,ffre~M. Davis
  ~                                                     Geoffrey M.Davis

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                 ORDER GRANTING DISMISSAL WITHOUT PREJUDICE OF DEFENDANT CRANE CO.
